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 AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                        UNITED STATES DISTRICT COURT
                                                                            for the
                                                        __________ District of __________
     Pues Family Trust IRA, Michael Pues, Executor
                                                                               )
                                Plaintiff                                      )
                                   v.                                          )        Civil Action No. 19-MC-80024
              Parnas Holdings, Inc., Lev Parnas                                )
                                                                               )
                               Defendant                                       )

                         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                 Parnas Holdings, Inc. (By Service on Surviving Director/Officer Lev Parnas)
 To:                                                        7670 LaCornice Cir
                                                           Boca Raton, FL 33433
                                                        (Name of person to whom this subpoena is directed)

       ✔
       ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
 documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
 material:
                              See Attached Exhibit

  Place:Andre Law Firm, P.A.                                                             Date and Time:
          18851 N.E. 29th Ave Suite 724
          Aventura, FL 33180                                                                               April 10, 2019 at 9:00 am


      ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
 other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
 may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

  Place:                                                                                Date and Time:



        The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
 Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
 respond to this subpoena and the potential consequences of not doing so.

 Date:
          March 5, 2019

                                   CLERK OF COURT
                                                                                             OR

                                            Signature of Clerk or Deputy Clerk                                         Attorney’s signature


 The name, address, e-mail address, and telephone number of the attorney representing (name of party) Pues Family Trust IRA
c/o Andre Law FIrm, P.A. 18851 N.E. 29th Ave Suite 724 Aventura, FL 33180 786 708 0813 , who issues or requests this subpoena, are:




                                Notice to the person who issues or requests this subpoena
 If this subpoena commands the production of documents, electronically stored information, or tangible things or the
 inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
 it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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 Civil Action No. 19-MC-80024

                                                      PROOF OF SERVICE
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

             I received this subpoena for (name of individual and title, if any)
 on (date)                               .

             ’ I served the subpoena by delivering a copy to the named person as follows:


                                                                                            on (date)                                   ; or

             ’ I returned the subpoena unexecuted because:
                                                                                                                                                      .

             Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
             tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
             $                                     .

 My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


             I declare under penalty of perjury that this information is true.


 Date:
                                                                                                    Server’s signature



                                                                                                  Printed name and title




                                                                                                     Server’s address

 Additional information regarding attempted service, etc.:
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                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
 (c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                    not describe specific occurrences in dispute and results from the expert’s
   (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
 person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
 regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
 transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
       (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
       (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
 expense.
                                                                                    (e) Duties in Responding to a Subpoena.
  (2) For Other Discovery. A subpoena may command:
    (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
 tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
 employed, or regularly transacts business in person; and                           information:
    (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                    must produce them as they are kept in the ordinary course of business or
 (d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                       (B) Form for Producing Electronically Stored Information Not Specified.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
 responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
 to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
 subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
 enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
 lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
 fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                    responding need not provide discovery of electronically stored information
  (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
    (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
 documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
 permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
 production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
 hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
    (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
 things or to permit inspection may serve on the party or attorney designated
 in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
 sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
 producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
 The objection must be served before the earlier of the time specified for          material must:
 compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
 the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
      (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
 may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
 order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
      (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
 order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
 significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                    notified, a party must promptly return, sequester, or destroy the specified
  (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
    (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
 compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
      (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
      (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
 specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
      (iii) requires disclosure of privileged or other protected matter, if no      resolved.
 exception or waiver applies; or
      (iv) subjects a person to undue burden.                                       (g) Contempt.
   (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
 subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
 motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
       (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
 development, or commercial information; or



                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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                                                    EXHIBIT "A"

     *"You" and "Your" refers to: PARNAS HOLDINGS, INC.

     I. BANK RECORDS

             A.       Any and all documents and records of checking, savings, or any other type of account,
    foreign or domestic, maintained by you with any type of financial institution during the last five (5) years of
    your Operation, including but not limited to monthly account statements, checks, check registers. check
    stubs, cancelled checks, and deposit slips.

            B.       All documents that refer to, relate to, reflect or concern any transfers made to or from any
    financial account held for your benefit, by any third party, for the last five (5) years of your operation.

            C.       Any and all signature cards that bearing your name as an authorized signatory on any
    financial account for any entity or other third party, for the past five (5) years of your operation.

              D.        Any and all documents submitted to any bank financial institution, or any other person
    or entity, by you, for any loan or advance, in any capacity (borrower, guarantor, or surety) for the past five (5)
    years of your operation.

             E.        Any and all documents concerning any interest in, or claimed title to, any certificates of
    deposit, letters of credit, money orders, cashier’s checks, travelers checks, bank deposits or escrow funds
    owned or held by you in the past five (5) years of your operation.

             F.         Any and all documents related to any account in which any of your earnings or other
    income has been deposited into in the past five (5) years of your operatoin, whether you continue to have
    an interest in it or not.

             G.      Any and all documents evidencing your having authority to access any safe deposit box
    or other bank-secured area, for the last five (5) years of your operation.

    II. INVESTMENTS

           A.       Any and all documents concerning investment into any movie productions, including
   without limitation, “Anatomy of a Killer” or any and all projects with Koala Productions and/or Rudy
   Durand. This includes all correspondence made by You or your Agents to Koala Productions and or
   Rudy Durand, or correspondence concerning any and all investments by You.

   III.    EMPLOYMENT RECORDS

           A. Any and all documents concerning the payment of any and all employees and officers of
                YOU, without limitation, copies of checks, employment records, payroll records, etc.
